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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO
                        WESTERN DIVISION - CINCINNATI

 MICHAEL A. KITCHEN,                                Case No. 1:22-cv-500

                      Plaintiff,                    Judge Matthew W. McFarland
                                                    Magistrate Judge Peter B. Silvain, Jr.
               V.


 LUCASVILLE CORRECTIONAL
 INSTITUTION, et al.,

                      Defendants.


           ORDER ADOPTING REPORT AND RECOMMENDATION (Doc. 34)


       The Court has reviewed the Report and Recommendation of United States

Magistrate Judge Peter B. Silvain, Jr. (Doc. 34), to whom this case is referred pursuant to

28 U.S.C. § 636(b). Noting that no objections have been filed and the time for filing such

objections under Fed. R. Civ. P. 72(b) has expired, the Court hereby ADOPTS said Report

and Recommendation in its entirety. Accordingly, the Court ORDERS that all claims

against Defendant Romine are DISMISSED WITHOUT PREJUDICE under Fed. R. Civ .

P. 4(m).

       IT IS SO ORDERED.




                                                UNITED STATES DISTRICT COURT
                                                SOUTHERN DISTRICT OF OHIO


                                            By: ~              '\N,~~
                                                JUDGE MATTHEW W. McARLAJ\JD
